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                                  EXHIBIT LIST

 Exhibit 1 – Preliminary Hearing Transcript

 Exhibit. 2 – Criminal Proceedings Registers of Actions

 Exhibit 3 – Competency Hearing

 Exhibit 4 – Bench Trial Transcript Day 1

 Exhibit 5 – Bench Trial Transcript Day 2

 Exhibit 6 – Sentencing Transcript

 Exhibit 7 – Michigan Court of Appeals Opinion

 Exhibit 8 – Michigan Supreme Court Opinion

 Exhibit 9 – Barmapov v. Barry, 2011 W.L. 32371 (E.D. N.Y. 2011)

 Exhibit 10 – Fox v. Michigan State Police Dept., 173 Fed. Appx. 372 (6th Cir.
 2006)

 Exhibit 11 – Davis v. Muncy, 976 F.2d 733 (6th Cir. 1992)

 Exhibit 12 – Bynum v. City of Oklahoma City, 2005 W.L. 1241893 (W.D. Okla.
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 Exhibit 13 – Bynum v. City of Oklahoma City 204 Fed. Appx. 767 (10th Cir. 2006)

 Exhibit 14 – Brown v. City of Detroit, 47 Fed. Appx. 339 (6th Cir. 2002)

 Exhibit 15 – United States v. Dossey, 66 Fed. Appx. 528 (6th Cir. 2003)

 Exhibit 16 – Howard v. Burt 2017 W.L. 3425900 (E.D. Mich. 2017)

 Exhibit 17 – Jarrett v. Township of Bensalem, 312 Fed. Appx. 505 (3rd Cir. 2009)
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 Exhibit 18 – Mote v. City of Chelsea, 2018 W.L 262855 (E.D. Mich. 2018)

 Exhibit 19 – Clemons v. Gaines, 2007 WL 4547862 (E.D. Mich. 2007)

 Exhibit 20 – Neal v Anspaugh-Kisner, 2008 WL 506336 (E.D. Mich. 2008)

 Exhibit 21 – Fitts v. Burt, 2008 WL 842705 (E.D. Mich. 2008)

 Exhibit 22 – Skinner v. Unknown Grandson, 2006 WL 1997392 (E.D. Mich. 2006)

 Exhibit 23 – Siner v. City of Detroit, 2017 W.L. 1190946 (E.D. Mich. 2017)
